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                                                                                               www.moodklaw.com
NEW JERSEY OFFICE                                                                       Jonathan R. Stuckel
Cherry Tree Corporate Center                                                                  Member NJ & PA Bars
                                                                                                    (856) 406-1319
Suite 501
                                                                                           JStuckel@moodklaw.com
535 Route 38 East
Cherry Hill, NJ 08002
(856) 663-4300 Fax: (856) 663-4439


                                             November 16, 2022
      Honorable James B. Clark
      U.S. District Court for the District of New Jersey
      Martin Luther King Building & U.S. Courthouse
      50 Walnut Street P0 01
      Newark, New Jersey 07101

                        Re: Morales v. Healthcare Revenue Recovery Group, LLC
                            Case No. 2:15-cv-08401-EP-JBC

      Dear Judge Clark:

              On October 6, 2022, you Honor issued an order (ECF No. 182) granting Plaintiff’s
      request for an extension of time to file his motion for class certification to November 7, 2022.
      As a result, Defendant’s opposition to class certification is currently due on November 24, 2022,
      which is Thanksgiving Day. Plaintiff’s opposition to Defendant’s summary judgment is also due
      that day (EDF No. 183). All papers, including replies, are to be filed simultaneously on
      December 5, 2022.

              Given the Thanksgiving holiday, Defendant requests the scheduling order for briefing on
      class certification and summary judgment be modified as follows:

             The parties’ opposition briefs shall be exchanged by December 7, 2022.

             The parties’ reply briefs shall be exchanged by December 16, 2022.

             No later than December 19, 2022, each moving party, for their respective motion, shall
              simultaneous file all papers, the moving brief, under a new notice of motion, the
              opposition, and the reply under three separate docket entries.

                                                        Respectfully submitted,

                                                        MARKS, O’NEILL, O’BRIEN,
                                                        DOHERTY & KELLY, P.C.

                                                        /s/ Jonathan R. Stuckel_________
                                                        Christian M. Scheuerman, Esquire
                                                        Jonathan R. Stuckel, Esquire
      cc: All Counsel of Record (via ECF)
      {M0324900.1}
         Philadelphia       Pittsburgh    Westchester      Wilmington       Towson         New York
                                            County
         Pennsylvania      Pennsylvania    New York         Delaware        Maryland       New York
